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Form 149

                                 UNITED STATES BANKRUPTCY COURT
                                            Middle District of North Carolina
                                               101 S. Edgeworth Street
                                                Greensboro, NC 27401

                                                                                Bankruptcy Case No.: 22−10293
      IN THE MATTER OF:
      Mya Deionshai Corbett   xxx−xx−3117
      1183 University Dr
      #105227
      Burlington, NC 27215

           Debtor(s)


                       NOTICE OF DEFICIENCY REGARDING CERTIFICATE OF SERVICE




      An Initial Statement About an Eviction Judgment was filed in the above−captioned case on June 15, 2022.


      The following deficiency has been noted regarding service on the above referenced document(s)

      *No certificate of service has been filed or certificate of service is incomplete.




      Dated: 6/17/22                                                            OFFICE OF THE CLERK/TR
